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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

Melinda and Mark Loe, et al.,

                Plaintiffs,

        v.                               Case No. 23-cv-1527 (NEB/JFD)

Willie Jett, et al.,

                Defendants.


        MOTION BY THE FREEDOM FROM RELIGION FOUNDATION
            FOR LEAVE TO FILE AN AMICUS CURIAE BRIEF

      The Freedom From Religion Foundation respectfully moves for leave to file a

proposed amicus curiae brief in support of the Defendants’ Motion for Summary

Judgment.



September 10, 2024


Respectfully Submitted,

                                                 Patrick C. Elliott (#0397792)
                                                 Counsel of Record
                                                 Freedom From Religion
                                                 Foundation
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                          CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(c), I certify that I conferred with the Plaintiffs and

Defendants in the above captioned matter. The parties do not oppose FFRF's motion to

file an amicus curiae brief.



September 10, 2024
                                                             /s/ Patrick C. Elliott
                                                             Patrick C. Elliott
